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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                                  DIVISION
                                  ~---~----




                                                     )
                                                     )
                                                     )
Plaintiff(s),                                        )
                                                     )

                        //);Ff/-olV/lfl   c,#lllt~14         Case No. - - - - - - - -
                                                                 (to be assigned by Clerk of District Court)
                                                     )
                                                     )
                                                     )       JURY TRIAL DEMANDED
                                                     )
                                                     )          YEsE1         NoO
Defendant(s). (Enter above the full name(s)          )
of all defendants in this lawsuit. Please            )
attach additional sheets if necessary.)              )


                     EMPLOYMENT DISCRIMINATION COMPLAINT

        I.      This employment discrimination lawsuit is based on (check only those that apply):


~Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.            §§ 2000e, et seq., for
       employment discrimination on the basis ofrace, color, religion, gender, or national origin.
       NOTE: In order to bring suit in federal district court under Title VIL you must first obtain
       a right-to-sue letter from the Equal Employment Opportunity Commission.

       Age Discrimination in Employment Act of 1967, as amended, 29.U.S.C. §§ 621, et seq., for
       employment discrimination on the basis of age (age 40 or older).
       NOTE: In order to bring suit in federal district court wider the Age Discrimination in .
       Employment Act, you must first file charges with the Equal Empfoyment Opportunity.
       Commission.                          ·

       Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq.,
       for employment discrimination ori the basis of disability.
       NOTE: In order to bring suit in federal district court under ihe Americans with
       Disabilities Act, you must first obtain a right-to-sue letter from the Equal Employment
       Opportunity Commission.
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     Rehabilitation Act of 1973, as amended, 29 U.S.C. · §§ 701, et seq., for employment
     discrimination on the basis of a disability by an employer which constitutes a program or
     activity receiving federal financial assistance. ··
     NOTE: In order to bring suit in federal district court under the Rehabilitation Act of 1973,
     you mustfirst file charges with the appropriate Equal Employment Office representative or
     agency.

      Other (Describe)




                                                 PARTIES

     2.     Plaintiffs name:      -~-:--.....ZCS5~_1t:-_...._J;~'tti_11.~7rJ_a__t,_f'._t/:I_'V_r_(/z~-c-~
                                                                                                  __d})_r_ _ _ __
            Plaintiffsaddress:~Z~¥'~~-b__S'_,_b"_l_of{
                                                 __D_a_._A_/?_/.~A~-----­
                                               Street address or P.O. Box


                                       ·       City/ County/ State/Zip Code


                                               Area code and telephone number

     3.     Defendant's name:              5 c-hllJui)C/t.       f1JA7/v/Urf'L Cd/tlf:l~~J

            Defendant's address: -~/~.l.-''/----"'6=dl7Ci_,_t~c::,__fl""""'i7tl=-#='p=€'--=])_a_.- - - - - - - - - - -
                                           Street address or P.O. Box




                                               Area code and telephone number

NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
PROVIDE THEIR NAMES, ADDRESSES AND TELEPHONE NUMBERS ON A
SEPARATE SHEET OF PAPER.


                                                      2
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       4.      If you are claiming that the discriminatory conduct occurred at a different location,
please provide the following information:

(Street Address)                      (City/County)                   (State)   (Zip Code)

        5.      When did the discrimination occur? Please give the date or time period:

    /1-Z/ - Zotg


                               ADMINISTRATIVE PROCEDURES

        6.      Did you file a charge of discrimination against the defendant(s) with the Missouri

Commission on Human Rights?

         n     Yes

         (?}   No

        7.      Did you file a charge of discrimination against the defendant(s) with the Equal

Employment Opportunity Commission or other federal agency?

        -J:Z_Yes       Date filed: _2_-_Z._'2-_-_Z-_o_f_C/_ _ _ _ _ __

         []_No .

        8.      Have you received a Notice of Right-to-Sue Letter?

                JZ..Yes                                   I.___! No

If yes, pleas_e attach a copy of the letter to this complaint.

        9.      If you are claiming age discrimination, check one of the following:

       _ _60 days or more have passed since I filed my charge of age discrimination with the

Equal Employment Opportunity Commission.

       ____fewer than 60 days have passed since I filed my charge ofage discrimination with the

Equal Employment Opportunity Commission.


                                                   3
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                                   NATURE OF THE CASE

     I 0.    The conduct complained of in this lawsuit involves (check only those that apply):

                     failure to hire me

             ~ termination of my employment

             _ _ failure to promote me

             _ _ failure to accommodate my disability

             ~ terms and conditions of my employment differ from those ofsimilar employees
             __.!_ retaliation
             ~harassment
             _ _ other conduct{specify):




      Did you complain about this same conduct in your charge of discrimination?

              l_'j   Yes                          Q_No




                                            4
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        11.    I believe that I was discriminated against because of my (check all that apply):

                  ./ race

                       religion

                       national origin

                  ./   color

                  /    gender

                       disability

                       age (birth year is:

                       other:



       Did you state the same reason(s) in your charge of discrimination?

                L~j_Yes                                o_No
         12.     State here, as briefly and clearly as possible, the essential fact~ of your claim.
Describe specifically the conduct that you believe is discriminatory and describe ho\v each defendant
is involved in the conduct. Take time to organize your statement; you may use numbered paragraphs
if you find it helpful. It is not necessary to make legal arguments, or to cite cases or statutes.




(Continue to page 6, if additional space is needed.)


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          13.     The acts set forth in paragraph 12 of this complaint:

                 _D_ are still being committed by the defendant.
                 LL are no longer being committed by the defendant.
                 fil     may still be being committed by the defendant.

                                       REQUEST FOR RELIEF

         State briefly and exactly what you want the Court to do for you. Make no legal arguments;

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         14.    Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of
my knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing Jaw or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the requirements
of Rule




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       I agree to provide the Clerk's Office with any changes to my address where case-related

papers may be served. I understand that my failure to keep a current address on file with the Clerk's

Office may result in the dismissal of my case.

       I declare under penalty of perjury that the foregoing is true and correct.

                      Signed this   Z I :71day of     IYJl}f?GH                     , 20 19

                      SignatureofPlaintiff          a~s{).1L
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